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                         UNITED STATES DISTRICT COURT
10
          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11

12
     AAV, a minor, by and through his      ) CASE NO.
13
     Guardian ad Litem, Mireya Segura,     )
14   Juan Venegas Garcia, Sara Duran de ) COMPLAINT FOR DAMAGES
     Venegas, Estate of Alvaro Venegas, by )
15
     and through successors in interest    )   1. Unreasonable Search & Seizure (42
16   AAV, Juan Venegas Garcia and Sara )          U.S.C. § 1983)
                                               2. Municipal Liability for
     Duran de Venegas,                     )      Unconstitutional Customs and
17
                                           )      Practices (42 U.S.C. § 1983)
18                      Plaintiffs,        )   3. Interference with Familial Integrity
                                           )      (42 U.S.C. § 1983)
19                                             4. Assault & Battery
      vs.                                  )
20                                         )   5. Wrongful Death
                                               6. Civil Rights Violations (Cal. Civ.
21
     COUNTY OF LOS ANGELES; LOS )                 Code § 52.1)
     ANGELES COUNTY SHERIFF’S              )
22   DEPARTMENT and DOES 1 to 10, ) DEMAND FOR JURY TRIAL
23
                                           )
                        Defendants.        )
24                                         )
25
     _______________________________ )

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                     COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1                                COMPLAINT FOR DAMAGES
 2         COME NOW Plaintiffs AAV, a minor, by and through his Guardian ad Litem,
 3   Mireya Segura, Juan Venegas Garcia, Sara Duran de Venegas, Estate of Alvaro
 4   Venegas, by and through successors in interest AAV, Juan Venegas Garcia and Sara
 5   Duran de Venegas (hereafter, collectively “Plaintiffs”), and allege as follows:
 6                                             I.
 7                                     INTRODUCTION
 8         1.     This civil rights action seeks to establish the true and unequivocal facts
 9   surrounding the shooting and killing of Alvaro Venegas by various deputies of the
10   Los Angeles County Sheriff’s Department. By way of this action, Plaintiffs will
11   establish the violations of fundamental rights under the United States Constitution in
12   connection with the shooting and killing of Alvaro Venegas on or about September
13   12, 2019 at approximately 1:30 in the afternoon.
14         2.     Alvaro Venegas was mentally ill and needed medical attention. The
15   sheriff’s deputies who contacted him during the underlying incident had ample time
16   to evaluate his circumstances, concluded that he need medical attention, failed to
17   summon such medical attention, and instead shot and killed him without justification
18   or cause. This coldblooded shooting was absolutely unjustified, and it is Plaintiffs’
19   goal to show that the killing of Alvaro Venegas was a senseless and unwarranted act
20   of police abuse.
21                                              II.
22                             JURISDICTION AND VENUE
23         3.     This civil action is brought for the redress of alleged deprivations of
24   constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, the Fourth
25   and Fourteenth Amendments of the United States Constitution. Jurisdiction is
26   founded on 28 U.S.C. §§ 1331, 1343, and 1367.
27   ///
28   ///
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                        COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1          4.    Venue is proper in this Court under 28 U.S.C. § 1391(b), because
 2   Defendants reside in, and all incidents, events, and occurrences giving rise to this
 3   action occurred in the County of Los Angeles, California, and all of the defendants
 4   reside in Los Angeles County.
 5                                             III.
 6                                   PENDANT CLAIMS
 7          5.    With respect to Plaintiffs’ supplemental state claims, Plaintiffs request
 8   that this Court exercise supplemental jurisdiction over such claims as they arise from
 9   the same facts and circumstances which underlie the federal claims. Plaintiffs have
10   complied with the California Tort Claims Act requirements. With respect to these
11   supplemental state claims, Plaintiffs request that this Court exercise supplemental
12   jurisdiction over such claims as they arise from the same facts and circumstances
13   which underlie the federal claims.
14                                               IV.
15                                         PARTIES
16          6.    Plaintiffs’ decedent Alvaro Venegas (also “Mr. Venegas”) was an
17   individual residing in California. The claims made by the ESTATE OF ALVARO
18   VENEGAS are brought by the successors in interest to the Estate of Alvaro Venegas
19   pursuant to California Code of Civil Procedure § 377.32. The successors in interest
20   are his father, Juan Venegas Garcia, his mother, Sara Duran de Venegas, and his son
21   AAV.
22          7.    At all times relevant hereto, Plaintiff AAV is and was the natural son of
23   decedent Alvaro Venegas. AAV is a minor and his claims are presented by and
24   through is mother, Mireya Segura.
25          8.    At all times relevant hereto, Plaintiff Juan Venegas Garcia is and was the
26   natural father of decedent Alvaro Venegas.
27          9.    At all times relevant hereto, Plaintiff Sara Duran de Venegas, is and was
28   the natural mother of decedent Alvaro Venegas.
                                                 3
                       COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1         10.     Defendant COUNTY OF LOS ANGELES (hereinafter also
 2   “COUNTY”) is and was, at all relevant times hereto, a public entity, duly organized
 3   and existing under and by virtue of the laws of the State of California, with the
 4   capacity to sue and be sued. Defendant COUNTY is responsible for the actions,
 5   omissions, policies, procedures, practices and customs of its various agents and
 6   agencies.
 7         11.     Defendant COUNTY owns, operates, manages, directs and controls
 8   Defendant LOS ANGELES COUNTY SHERIFF’S DEPARTMENT (hereinafter also
 9   “LASD”), also a separate public entity, which employs other Doe Defendants in this
10   action. At all times relevant to the facts alleged herein, Defendant COUNTY was
11   responsible for assuring that the actions, omissions, policies, procedures, practices
12   and customs of its employees, including LASD employees, complied with the laws
13   and the Constitutions of the United States and of the State of California.
14         12.     At all times relevant to the facts alleged herein, Defendant COUNTY
15   possessed the power and authority to adopt policies and prescribe rules, regulations,
16   and practices affecting all facets of the training, supervision, control, employment,
17   assignment and removal of individual members of the LASD. At all times relevant to
18   the facts alleged herein, Defendant COUNTY was responsible for assuring that the
19   actions, omissions, policies, procedures, practices and customs of its employees,
20   including LASD employees and agents, complied with the laws and the Constitutions
21   of the United States and of the State of California.
22         13.     At all relevant times, each of DOES 1 through 10 were employees of the
23   LASD. At all times relevant herein, each of DOE defendant named in the present
24   action, 1 through 10, was an employee and/or agent of Defendants COUNTY and
25   LASD, and he or she acted under color of law, to wit, under the color of the statutes,
26   ordinances, regulations, policies, customs, and usages of Defendants COUNTY and
27   the LASD, as well as under the color of the statutes and regulations of the State of
28   California.
                                                 4
                        COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1          14.    At all relevant times, each of the Defendants DOES 1 through 10 was
 2   acting within his or her capacity as an employee, agent, representative and/or servant
 3   of defendants COUNTY and LASD and is sued in their individual capacities.
 4          15.    The true names of Defendants DOES 1 through 10, inclusive, are
 5   unknown to Plaintiff, who therefore sues these Defendants by such fictitious names.
 6   Plaintiff will seek leave to amend this Complaint to show the true names and
 7   capacities of these Defendants when they have been ascertained. Each of the
 8   fictitiously named Defendants is responsible in some manner for the conduct and
 9   liabilities alleged herein.
10          16.    Defendants DOES 1 through 10 were also duly appointed sheriff’s
11   deputies, sergeants, lieutenants, detectives, or other supervisors, officials, executives
12   and/or policymakers of LASD, a department and subdivision of Defendant COUNTY
13   OF LOS ANGELES, and at all times mentioned herein said Defendants were acting
14   in the course and scope of their employment with Defendant COUNTY OF LOS
15   ANGELES, which is liable under the doctrine of respondeat superior pursuant to
16   California Government Code § 815.2.
17          17.    Each of the Defendants caused and is responsible for the unlawful
18   conduct and resulting by, inter alia, personally participating in the conduct, or acting
19   jointly and in concert with others who did so; by authorizing, acquiescing or failing to
20   take action to prevent the unlawful conduct; by promulgating policies and procedures
21   pursuant to which the unlawful conduct occurred; by failing and refusing, with
22   deliberate indifference to Plaintiffs’ rights, to initiate and maintain adequate
23   supervision and/or training; and, by ratifying the unlawful conduct that occurred by
24   agents and peace officers under their direction and control. Whenever and wherever
25   reference is made in this Complaint to any act by a Defendant, such allegation and
26   reference shall also be deemed to mean the acts and failures to act of each Defendant
27   individually, jointly and severally. They are sued in their individual and official
28   capacities and in some manner are responsible for the acts and omissions alleged
                                                 5
                         COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1   herein. Plaintiffs will ask leave of this Court to amend this Complaint to allege such
 2   name and responsibility when that information is ascertained. Each of the
 3   Defendants is the agent of the other.
 4                                              V.
 5                  FACTS COMMON TO ALL CLAIMS FOR RELIEF
 6         18.    On September 12, 2019, in the early afternoon, various deputies of the
 7   Los Angeles County Sheriff’s Department were summoned to 25733 Rye Canyon
 8   Road, Valencia, California in response to telephone reports to LASD dispatchers of a
 9   mentally ill man acting strange in the vicinity of the said location.
10         19.    The call was designated as a “5150” by LASD dispatchers, the
11   designation for a mentally ill suspect, based on the callers’ description of the
12   subject’s conduct.
13         20.    The subject of the call, Mr. Alvaro Venegas, was in fact mentally ill,
14   suffering from schizophrenia.
15         21.    As the various deputies arrived at the location, they confirmed that the
16   subject of the call was mentally ill. The subject, Mr. Venegas, was acting strangely.
17   When the deputies arrived in various patrol vehicles at the location of the call, they
18   found Mr. Venegas on a grassing mound near a sign under a tree in the parkway area.
19   He was on his hands and knees making strange noises. He was shoeless, he was bare-
20   chested – not wearing a shirt, and he was mumbling unintelligibly. He stood onto his
21   knees when the deputies called out to him. During this initial part of the contact, Mr.
22   Venegas appeared to be engaging in a conversation with himself. He continued to
23   engage in this strange activity, and he did not respond to the various deputies that
24   surrounded him and called out to him.
25         22.    He eventually stood up, and when he did so, the deputies noticed that he
26   held a short piece of wood in his right hand. He continued to mumble unintelligibly
27   to himself and the deputies.
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                          COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1         23.    For the next 10 minutes, he paced back and forth waving the piece of
 2   wood in front of his body, speaking unintelligibly, and gesticulating strangely.
 3         24.    By the time that he stood and began pacing about, at least five deputies
 4   had arrived at the location and were immediately present in the close vicinity of Mr.
 5   Venegas.
 6         25.    Despite having ample time to coordinate tactics for the detention of Mr.
 7   Venegas, the deputies at the scene, DOES 1 through 10, did not communicate with
 8   each other as to how to detain him.
 9         26.    The deputies had available to them various less-than-lethal such as
10   chemical agents (“pepper-spray”), electronic control devices (“tasers”), 12-gauge
11   stunbags (“bean-bag shotguns”), and baton launching systems (“40-MM”). All of the
12   deputies were trained and certified as to the use of these weapons. They had ample
13   time to deploy and use such weapons. They failed to communicate as to reasonable
14   tactics for the deployment of such weapons.
15         27.    The circumstances were well-suited for the use of these weapons. Mr.
16   Venegas was on foot. He was moving slowly. He was in an open area with no other
17   pedestrians in his vicinity. He was easily accessible by deputies from positions of
18   safety such as behind parked vehicles. The incident happened in the early afternoon
19   during daylight hours and visibility was not an issue. The incident was slowly
20   evolving and the deputies had at least 10 minutes to coordinate amongst each other
21   the use of less-lethal weapons to detain Mr. Venegas.
22         28.    The circumstances also called for the use of such weapons. Mr. Venegas
23   was non-responsive to attempts to communicate with him, he was speaking
24   unintelligibly and acting irrationally, and he was clearly a danger to himself as he was
25   near moving traffic along Rye Canyon road.
26         29.    Rather than coordinate a tactical approach to detain Mr. Venegas, the
27   deputies that were present with Mr. Venegas engaged in disorganized attempts to
28   communicate with him. One would approach Mr. Venegas and then withdraw after
                                                7
                       COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1   not being able to communicate with Mr. Venegas, and then another would similarly
 2   approach and withdraw.
 3         30.    The deputies in question, DOES 1 through 10, followed Mr. Venegas
 4   along the parkway toward a driveway where they encircled him near a patrol SUV
 5   that was parked in the driveway of the location. Contrary to their training, the
 6   deputies allowed Mr. Venegas to get within a few feet of a group of three of them.
 7   Two of the deputies had drawn their pistol as Mr. Venegas approached with a piece
 8   of wood in his hand. The third deputy was attempting to locate a less-lethal weapon
 9   from the back of the SUV as Mr. Venegas moved toward the deputies. Mr. Venegas
10   steps toward one of the armed deputies (DOE 1), and that deputy grabbed Mr.
11   Venegas in an effort to take him to the ground. He then pushed Mr. Venegas
12   backwards. The second armed deputy began to holster his pistol as Mr. Venegas was
13   moving backwards and, as he was holstering his pistol, he and the third deputy moved
14   forward toward Mr. Venegas to tackle him or otherwise take him to the ground. As
15   Mr. Venegas was moving backwards away from the deputies and as the two deputies
16   were moving toward him to take him down, the first deputy - DOE 1 – and other
17   deputies present, without cause fired several gunshots at Mr. Venegas, striking him in
18   the chest. Mr. Venegas eventually died from these wounds.
19         31.    Under the circumstances, the shooting and killing of Alvaro Venegas
20   was without provocation, cause or necessity as Alvaro Venegas did not pose a threat
21   or represent a danger of any nature to anyone, including the defendant deputies, at the
22   time of the shooting. Alvaro Venegas was retreating and moving backwards away
23   from the deputies at the time of the shooting. Accordingly, the shooting and killing
24   of Alvaro Venegas was unjustified and this use of force was unwarranted and
25   excessive under the circumstances.
26   ///
27   ///
28   ///
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                       COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1                                              VI.
 2                                    CLAIMS FOR RELIEF
 3                                 FIRST CLAIM FOR RELIEF
 4                                Unreasonable Search & Seizure
 5                                        42 U.S.C. § 1983
 6                            As Against Defendant DOES 1 through 10
 7          32.    Plaintiffs ESTATE OF ALVARO VENEGAS, by and through Mr.
 8   Venegas’s successors in interest, reallege and incorporate the foregoing paragraphs as
 9   if set forth herein.
10          33.    The actions of Defendants DOES 1 through 10, as described herein
11   violated Alvaro Venegas’s rights under the Fourth Amendment to the United States
12   Constitution incorporated and made applicable to states and municipalities by the
13   Due Process Clause of the Fourteenth Amendment, by subjecting Alvaro Venegas to
14   unreasonable searches and seizures of his person. Under the totality of the relevant
15   circumstances that existed, Alvaro Venegas posed no danger or threat to the
16   defendant, or anyone else. The shooting and killing of Alvaro Venegas was
17   unreasonable under the circumstances in every respect.
18          34.    Defendants’ conduct violated clearly established constitutional or other
19   rights, of which Defendants knew, or of which reasonable public officials should
20   have known, rendering Defendants liable to Plaintiffs under 42 U.S.C. § 1983.
21          35.    The unauthorized, unwarranted killing of Alvaro Venegas was willful
22   and done with a deliberate disregard for the rights and safety of Alvaro Venegas, and
23   therefore warrants the imposition of punitive damages as to shooting deputies.
24          36.    After being shot, Alvaro Venegas endured great physical and emotional
25   pain and suffering.
26          37.    Accordingly, the shooting deputies are liable to Plaintiff ESTATE OF
27   ALVARO VENEGAS for compensatory damages pursuant to 42 U.S.C. § 1983.
28   ///
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                            COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                                SECOND CLAIM FOR RELIEF
  2              Municipal Liability for Unconstitutional Customs and Practices
  3                                         42 U.S.C. § 1983
  4        As Against Defendants COUNTY OF LOS ANGELES, LOS ANGELES
  5              COUNTY SHERIFF’S DEPARTMENT and DOES 7 through 10
  6         38.       Plaintiffs reallege and incorporate the foregoing paragraphs as if set
  7   forth herein.
  8         39.       On and before September 2019, and prior to the killing of Alvaro
  9   Venegas, Defendants COUNTY OF LOS ANGELES, LOS ANGELES COUNTY
 10   SHERIFF’S DEPARTMENT and Does 7 through 10, and each of them, were aware
 11   that LASD deputies were regularly failing to use safe and proper tactics in detaining
 12   mentally ill persons. Said defendants were aware that the training that the LASD was
 13   providing its deputies was inadequate to preserve the lives of mentally ill persons.
 14         40.       Defendants COUNTY OF LOS ANGELES, LOS ANGELES COUNTY
 15   SHERIFF’S DEPARTMENT and Does 1 through 10, and each of them, acting with
 16   deliberate indifference to the rights and liberties of the public in general, and of the
 17   present Plaintiffs, knowingly maintained, enforced and applied customs and practices
 18   of
 19         a.        allowing deputies to shoot unarmed mentally ill persons without
 20                   attempting to use less-than-lethal force;
 21         b.        ratifying wrongful conduct by sheriff’s deputies and supervisors which
 22                   result in serious injuries and death of mentally ill or disabled persons,
 23                   through the payment of civil litigation judgments and settlements’
 24         c.        failing to implement corrective action to prevent repetition of said
 25                   wrongful conduct; and
 26         a.        Failing to provide specific training as to tactics for the handling,
 27                   management and detention of mentally ill or disabled suspects.
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                           COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1         41.    By reason of the aforementioned customs and practices, Alvaro Venegas
  2   was severely injured and subjected to pain and suffering as alleged above in the First
  3   Claim for Relief.
  4         42.    Defendants COUNTY OF LOS ANGELES, LASD and Does 1 through
  5   10, with various other officials, whether named or unnamed, had either actual or
  6   constructive knowledge of the deficient policies, practices and customs alleged in the
  7   paragraphs above. Despite having knowledge as stated above these Defendants
  8   condoned, tolerated and through actions and inactions thereby ratified such customs
  9   and practices. Said Defendants also acted with deliberate indifference to the
 10   foreseeable effects and consequences of these policies with respect to the
 11   constitutional rights of Plaintiffs and other individuals similarly situated.
 12         43.    The policies, practices, and customs implemented and maintained and
 13   still tolerated by Defendants COUNTY OF LOS ANGELES, LASD and Does 7
 14   through 10, and each of them, were affirmatively linked to and were a significantly
 15   influential force behind the injuries suffered by Alvaro Venegas and the Plaintiffs.
 16         44.    Accordingly, Defendant COUNTY OF LOS ANGELES is liable to
 17   Plaintiffs for compensatory damages pursuant to 42 U.S.C. § 1983.
 18                              THIRD CLAIM FOR RELIEF
 19                            Interference with Familial Integrity
 20                             Substantive Due Process Violation
 21                                       42 U.S.C. § 1983
 22       As Against Defendants COUNTY OF LOS ANGELES, LOS ANGELES
 23           COUNTY SHERIFF’S DEPARTMENT and DOES 1 through 10
 24         45.    Plaintiffs AAV, Juan Venegas Garcia and Sara Duran de Venegas
 25   reallege and incorporate the foregoing paragraphs as if set forth herein.
 26         46.    The present claim is brought pursuant to 42 U.S.C. § 1983, for violation
 27   of the right of familial integrity guaranteed by the Fourteenth Amendment of the
 28   United States Constitution.
                                                  11
                          COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1           47.   As alleged above, the shooting and killing of Alvaro Venegas was
  2   unreasonable under the circumstances of the encounter between Alvaro Venegas and
  3   Defendants DOES 1 through 10. As such, the shooting and killing of Alvaro
  4   Venegas violated the constitutional limits on police use of deadly force in violation of
  5   the Fourth Amendment’s limits on unreasonable seizures.
  6           48.   At the same time, the shooting and killing of Alvaro Venegas violated
  7   the rights of Plaintiffs AAV, Juan Venegas Garcia and Sara Duran de Venegas to be
  8   free from police interference in their relationship with Alvaro Venegas.
  9           49.   The unreasonable conduct of Defendants DOES 1 through 10 was the
 10   direct and proximate cause of the death of Alvaro Venegas. As a result of the
 11   unreasonable conduct of Defendants 1 through 10, Plaintiffs lost Alvaro Venegas, as
 12   well as his love, affection, society, and financial and moral support.
 13           50.   As a result, Defendants COUNTY OF LOS ANGELES and DOES 1
 14   through 10 are liable to Plaintiffs for compensatory damages pursuant to 42 U.S.C. §
 15   1983.
 16           51.   The unreasonable conduct of these Defendants was willful and done
 17   with a deliberate disregard for the rights and safety of Alvaro Venegas and the
 18   present Plaintiffs and therefore warrants the imposition of punitive damages as to
 19   Defendants DOES 1 through 10.
 20                             FOURTH CLAIM FOR RELIEF
 21                                     Assault & Battery
 22   As Against Defendants COUNTY OF LOS ANGELES and DOES 1 through 10
 23           52.   Plaintiff Estate of Alvaro Venegas, by and through Alvaro Venegas’s
 24   successors in interest, reallege and incorporate the foregoing paragraphs as if set forth
 25   herein.
 26           53.   This cause of action arises under the general laws and Constitution of the
 27   State of California. Plaintiffs have complied with the California Tort Claims Act
 28   requirements.
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  1         54.    Defendants DOES 1 through 10 assaulted and battered Alvaro Venegas,
  2   as pleaded herein above, when said Defendants acted intentionally to cause, and did
  3   cause, said non-consensual, unprivileged, unjustified, excessive, harmful or offensive
  4   contact to the person of Alvaro Venegas by unreasonably and unjustly shooting and
  5   killing Alvaro Venegas.
  6         55.    These acts were undertaken by DOE Defendants 1 through 10
  7   intentionally and without justification.
  8         56.    As a result of these deliberate and unjustified acts undertaken by said
  9   defendants, Alvaro Venegas endured great physical and emotional pain and suffering.
 10         57.    These deliberate and unjustified acts undertaken by Defendants DOES 1
 11   through 10 were willful and done with a deliberate disregard for the rights and safety
 12   of decedent Alvaro Venegas and, therefore, warrant the imposition of punitive
 13   damages as to Defendants DOES 1 through 10.
 14         58.    Defendant COUNTY OF LOS ANGELES is liable to Plaintiffs for the
 15   acts of their public employees, the individual Defendants herein, for conduct and/or
 16   omissions herein alleged, pursuant to the doctrine of respondeat superior, codified at
 17   California Government Code § 815.2.
 18                              FIFTH CLAIM FOR RELIEF
 19                                      Wrongful Death
 20   As Against Defendants COUNTY OF LOS ANGELES and DOES 1 through 10
 21         59.    Plaintiffs AAV, Juan Venegas Garcia and Sara Duran de Venegas
 22   realleges and incorporates the foregoing paragraphs as if set forth herein.
 23         60.    This cause of action arises under the general laws and Constitution of the
 24   State of California. Plaintiffs have complied with the California Tort Claims Act
 25   requirements.
 26         61.    Defendants DOES 1 through 6, while working as sheriff’s deputies of
 27   the LASD, and acting within the course and scope of their duties, employed negligent
 28   tactics and intentionally and/or without due care shot Alvaro Venegas. The shooting
                                                 13
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  1   resulted as a result of said defendants improper and negligent tactics. As a result of
  2   these intentional acts and negligence, Alvaro Venegas suffered serious injuries and
  3   lost his life. Defendant DOES 1 through 6 had no legal or reasonable justification for
  4   their actions.
  5         62.    As a direct and proximate result of the conduct of Defendants DOES 1
  6   through 6, Alvaro Venegas lost his life. Plaintiffs have been deprived of the life-long
  7   love, affection, comfort, support and society of Alvaro Venegas, and will continue to
  8   be so deprived for the remainder of their natural lives. Plaintiffs were further caused
  9   to pay funeral and burial expenses as a result of the conduct of Defendant DOES 1
 10   through 6.
 11         63.    Defendant COUNTY OF LOS ANGELES is vicariously liable for the
 12   wrongful, intentional and/or negligent acts of Defendants DOES 1 through 6,
 13   pursuant to California Government Code § 815.2, which provides that a public entity
 14   is liable for the injuries caused by its employees within the scope of the employment
 15   if the employee’s act would subject him or her to liability.
 16                               SIXTH CLAIM FOR RELIEF
 17                      Civil Rights Violations (Cal. Civ. Code § 52.1)
 18   As Against Defendants COUNTY OF LOS ANGELES and DOES 1 through 10
 19         64.    Plaintiffs AAV, Juan Venegas Garcia, Sara Duran de Venegas and
 20   ESTATE OF ALVARO VENEGAS reallege and incorporate the foregoing
 21   paragraphs as if set forth herein.
 22         65.    This cause of action arises under the general laws and Constitution of the
 23   State of California, including California Civil Code § 52.1 and California
 24   Government Code §§820 and 815.2. Plaintiffs complied with the California Tort
 25   Claims Act requirements.
 26         66.    As a result of the conduct of Defendants DOES 1 through 6 by the use of
 27   threats, intimidation, and coercions, interfered with Plaintiffs’ exercise and enjoyment
 28   of the rights secured by the United States Constitution and other Federal laws, the
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                         COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1   Constitution and laws of the State of California, and their rights under California
  2   Civil Code § 52.1.
  3         67.    All of the above acts and omissions of these Defendants, and each of
  4   them, were wilful, wanton, malicious and oppressive, thereby justifying the awarding
  5   of exemplary and punitive damages as to said Defendants.
  6         68.    Defendants, and each of them, for the respective acts and violations
  7   pleaded herein above, are liable to Plaintiffs for damages, penalties and attorneys’
  8   fees as provided in California Civil Code § 52.1.
  9                                             VII.
 10                                 PRAYER FOR RELIEF
 11         WHEREFORE, Plaintiffs requests entry of judgment in their favor and against
 12   Defendants as follows:
 13         A.          For compensatory damages, including pre-death pain and suffering
 14   damages, general damages and special damages, and statutory damages for violation
 15   of the laws and Constitution of the United States and State of California, in an
 16   amount to be determined at trial;
 17         B.          For punitive damages against Defendants DOES 1 through 10
 18   pursuant to 42 U.S.C. § 1983, and any other applicable laws or statutes, in an amount
 19   sufficient to deter and make an example of each of them;
 20         C.          For prejudgment interest to be determined at trial;
 21         D.          For reasonable costs of this suit and attorneys’ fees, including
 22   attorneys’ fees pursuant to 42 U.S.C. § 1988; and
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                        COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1         E.         For such further other relief as the Court may deem just, proper, and
  2   appropriate.
  3

  4   Date: April 8, 2020                   CASILLAS & ASSOCIATES
  5
                                            By: /s/ Arnoldo Casillas
  6
                                            ARNOLDO CASILLAS
  7                                         DENISSE O. GASTÉLUM
                                            LEONEL MOJICA
  8
                                            Attorneys for Plaintiffs,
  9                                         ESTATE OF ALVARO VENEGAS, AAV,
                                            Juan Venegas Garcia and Sara Duran de
 10
                                            Venegas
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  1                               DEMAND FOR JURY TRIAL
  2         Plaintiff Attorneys for Plaintiffs ESTATE OF ALVARO VENEGAS, AAV,
  3   Juan Venegas Garcia and Sara Duran de Venegas hereby demand trial by jury.
  4

  5
      Dated: April 8, 2020                CASILLAS & ASSOCIATES

  6
                                          By: /s/ Arnoldo Casillas
  7                                       ARNOLDO CASILLAS
  8                                       DENISSE O. GASTÉLUM
                                          LEONEL MOJICA
  9                                       Attorneys for Plaintiffs, ESTATE OF
 10                                       ALVARO VENEGAS, AAV, Juan Venegas
                                          Garcia and Sara Duran de Venegas
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